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UMMM Cele m oC Zel Eater: (o=h

United States Bankruptcy Court for the:

EASTERN DISTRICT OF LOUISIANA

Case number (if known) Chapter 11

 

O Check if this an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name Congregation Coffee, LLC

 

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

 

3. Debtor's federal
Employer Identification XX-XXXXXXX
Number (EIN)

 

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business

1746 Tchoupitoulas Street
New Orleans, LA 70130

 

 

 

Number, Street, City, State & ZIP Code P.O, Box, Number, Street, City, State & ZIP Code
Orleans Location of principal assets, if different from principal
County place of business

 

Number, Street, City, State & ZIP Code

 

5. Debtor's website (URL) www.congregationcoffee.com

 

 

 

6. Type of debtor H@ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
O Partnership (excluding LLP)
O Other. Specify:
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Case number (if known)

 

Debtor Congregation Coffee, LLC
Name
7. Describe debtor's business A. Check one:

 

0) Health Care Business (as defined in 11 U.S.C. § 101(27A))
O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
DC Railroad (as defined in 11 U.S.C. § 101(44))

© Stockbroker (as defined in 11 U.S.C. § 101(53A))

©) Commodity Broker (as defined in 11 U.S.C. § 101(6))

O Clearing Bank (as defined in 11 U.S.C. § 781(3))

HZ None of the above

B. Check all that apply
Z Tax-exempt entity (as described in 26 U.S.C. §501)

C1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
C1 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http: /Avww.uscourts.gov/four-digit-national-association-naics-codes.

 

 

the debtor within the last 8
years?

If more than 2 cases, attach a
separate list. District

District

2095
8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor filing? C] Chapter 7
A debtor who is a “small CD) Chapter 9
business debtor” must check gy
the first sub-box. A debtor as Chapter 11. Check all that apply.
defined in § 1182(1) who The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
elects to proceed under noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
subchapter V of chapter 11 $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
(whether or not the debtor is a operations, cash-flow statement, and federal income tax return or if any of these documents do not
“small business debtor") must exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
check the second sub-box. ° 3 . _

M@ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

Cl Aplan is being filed with this petition.

© Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to fite periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-Individuals Fiting for Bankruptcy under Chapter 11
(Official Form 201A) with this form.
C1 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
O Chapter 12
9. Were prior bankruptcy EENo
cases filed by or against oO Yes.

When
When

Case number
Case number

 

Official Form 201

Voluntary Petition for Non-individuals Filing for Bankruptcy

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Debtor Congregation Coffee, LLC Case number (if known)
Name

10. Are any bankruptcy cases HINo

pending or being filed by a oO

business partner or an Yes.

affiliate of the debtor?

List all cases. If more than 1, . ‘

attach a separate list Debtor Relationship

District When Case number, if known

11. Why is the case filed in Check all that apply:

this district?

a Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

OA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

HNo

Fl'Yes Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)

C1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

C1 It needs to be physically secured or protected from the weather.

CJ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

O Other

 

Where is the property?

 

Number, Street, City, State & ZIP Code
Is the property insured?
O No

Ol Yes. Insurance agency

 

Contact name

 

Phone

 

 

ee Statistical and administrative information

13. Debtor's estimation of
available funds

Check one:
@ Funds will be available for distribution to unsecured creditors.

OO After any administrative expenses are paid, no funds will be available to unsecured creditors.

 

 

14. Estimated number of Hi 1-49 0 1,000-5,000 CO) 25,001-50,000
creditors UO s0-99 O 5001-10,000 CF 50,001-100,000
100-199 U1 10,001-25,000 C) More than100,000
0 200-999
15. Estimated Assets CX) so - $50,000 C1) $1,000,001 - $10 million CJ $500,000,001 - $1 billion

($50,001 - $100,000
Hi $100,001 - $500,000
C1 $500,001 - $1 million

0 $10,000,001 - $50 million
0 $50,000,001 - $100 million
QO $100,000,001 - $500 million

OC $1,000,000,001 - $10 billion
C $10,000,000,001 - $50 billion
O More than $50 billion

 

16. Estimated liabilities 0 $0 - $50,000

Official Form 201

01 $1,000,001 - $10 million

Voluntary Petition for Non-Individuals Filing for Bankruptcy

C1 $500,000,001 - $1 billion

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Debtor Congregation Coffee, LLC Gase number (if known)
1 $50,c01 - $100,000 [1 $10,000,001 - $50 million DO $1,000,000,001 - $10 billion
[$100,001 - $500,000 D $50,000,001 - $100 million DF $10,000,000,001 - $50 billion
Hf $500,001 - $1 million [9 $100,000,001 - $500 million CI More than $50 billion

 

Official Form 201 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 4
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Debtor

Congregation Coffee, LLC

 

Name

BR request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or

imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature

of authorized
representative of debtor

 

Case number (if known)

 

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| have been authorized to file this petition on behalf of the debtor.

| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on

June 6, 2023
M/DDIYYYY

 

Signatire of authorized representative of debtor

eliean aq

 

Eliot Guthrie

 

Printed name

 

18. Signature of attorney

Official Form 201

x

 

¥ ee
Signature-of attorney @ debtor

Stewart F. Peck 10403

Date June 6, 2023

 

MM/DDIYYYY

 

Printed name

Lugenbuhl, Wheaton, Peck, Rankin & Hubbard
Firm name

601 Poydras Street, Suite 2775
New Orleans, LA 70130
Number, Street, City, State & ZIP Code

Contact phone (504)568-1990 Email address

10403 LA

 

 

Bar number and State

Voluntary Petition for Non-Individuals Filing for Bankruptcy

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ell) LEM CATES ConcermearotelaM cone ( Salih a Uomo ios
Debtor name | Congregation Coffee, LLC
United States Bankruptcy Court for the: EASTERN DISTRICT OF O Check if this is an

LOUISIANA
Case number (if known): amended filing

 

 

 

 

Official Form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

 

 

Name of creditor and Name, telephone number | Nature of claim Indicate if claim | Amount of claim
complete maiting address, | and email address of (for example, trade is contingent, | If the claim is fully unsecured, fill in only unsecured claim amount. if
including zip code creditor contact debts, bank loans, unliquidated, or | claim Is partially secured, fil! in total claim ammount and deduction for
professional services, disputed value of collateral or setoff to calculate unsecured claim.
and government Total claim, If Deduction for value | Unsecured claim
contracts) partially secured of collateral or setoff
1770 Tchoupitoulas $14,726.12
Inc.

4152 Canal Street
New Orleans, LA
70119

Balzac $4,501.28
11 Fulton Street
Charleston, SC
29401

Cafe Imports $5,734.91
2617 East Hennipin
Avenue
Minneapolis, MN
55413-2000
Cofinet $14,858.53
16192 Coastal
Highway

Lewes, DE 19958
Crop to Cup $5,606.02
157 11th Street
Brooklyn, NY 11215

 

 

 

 

 

 

Crop to Cup $224.24
157 11th Street

Brooklyn, NY 11215

Crown $1,638.80

308 S Main Street
New Knoxville, OH
45871

Financial Pacific $47,000.00
Leasing

3455 S 344th Way,
Suite 300

Auburn, WA 98001
Forward Financing $9,976.54
§2 State Street, 20th
Floor

Boston, MA 02109

 

 

 

 

 

 

 

 

 

 

Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 1

 
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Debtor
Name

Congregation Coffee, LLC

Case number (if known)

 

 

Name of creditor and
complete mailing address,
inctuding zip code

Name, telephone number
and email address of
creditor contact

Nature of claim

(for example, trade
debts, bank loans,
professional services,

Indicate if claim
Is contingent,
unliquidated, or
disputed

Amount of claim

If the claim is fully unsecured, fill in only unsecured claim amount. If
claim is partially secured, fill in total caim amount and deduction for
value of collateral or setoff to calculate unsecured claim.

 

Total claim, if
partially secured

Deduction for vatue
of collaterai or setoff

Unsecured claim

 

Heidi Gremillion
P.O. Box 56801
New Orleans, LA
70156

$4,000.00

 

Keffa
7 South High Street
Baltimore, MD 21202

$6,150.83

 

Keffa

4152 Canal Street
New Orleans, LA
70119

$6,262.15

 

Onyx

P.O. Box 31123
Bellingham, WA
98228

$6,067.97

 

PayPal
2211 N 1st Street
San Jose, CA 95131

$161,752.40

 

SBA EIDL
P.O. Box 3918
Portland, OR 97208

$500,000.00

 

Shopify

33 New Montgomery
Street, Suite 750
San Francisco, CA
94105

$10,373.53

 

Stripe

354 Oyster Port
Bivd. South

South San
Francisco, CA 94080

$3,398.00

 

Studio WTA
7041 Canal Blvd.
New Orleans, LA
70124

$26,320.00

 

Sucafina
109 North 12 Street,
Suite 602
Brooklyn, NY 11249

$8,385.47

 

Sucafina
109 North 12 Street,
Suite 602
Brooklyn, NY 11249

 

 

 

 

 

 

 

$4,127.01

 

Official form 204

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims

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United States Bankruptcy Court

Eastern District of Louisiana

Inre _ Congregation Coffee, LLC

 

LIST OF EQUITY SECURITY HOLDERS

Debtor(s)

Case No.

 

Chapter 11

 

Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 

Name and last known address or place of
business of holder

Security Class Number of Securities

Kind of Interest

 

Andrea Morgan

16 Todd Brook Drive
Toronto, Ontario M9V 1RV
CANADA

Beau Guthrie
601 N. Richmond
Carson City, NV 89703

Eliot Guthrie
319 S. Murat Street
New Orleans, LA 70119

Tobias Coughlin-Beau
17123 Vashon Hwy SW
Vashon, WA 98070

LLC
Membership
Interest

LLC
Membership
Interest

LLC
Membership
Interest

LLC
Membership
Interest

0.40%

0.80%

98.6%

0.20%

LLC Membership Interest

LLC Membership Interest

LLC Membership Interest

LLC Membership Interest

DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.

Date June 6, 2023

 

Penalty for making a false statement of concealing property: Fine of up to $500,000orim i
18 U.S.C. §§ 152 and 3571.

Sheet | of 1 in List of Equity Security Holders

Signature ey

Etiet Guthrie

   

sonment for up to 5 years or both.
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United States Bankruptcy Court

Eastern District of Louisiana
Inre _ Congregation Coffee, LLC Case No.

 

Debtor(s) Chapter 11

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Congregation Coffee, LLC _ in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

@ None [Check if applicable]

 

 

NN
June 6, 2023 5
Date Stewart F. Peck 10403

Signature of Attorney or Litigant
Counsel for Congregation Coffee, LLC
Lugenbuhl, Wheaton, Peck, Rankin & Hubbard

601 Poydras Street, Suite 2775
New Orleans, LA 70130
(504)568-1990 Fax:(504)310-9195
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United States Bankruptcy Court
Eastern District of Louisiana

Inre | Congregation Coffee, LLC Case No.

 

Debtor(s) Chapter 11

 

VERIFICATION OF CREDITOR MATRIX

I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.

)

A

Eliot Guthrie/Managé
Signer/Title

Date: June 6, 2023

 

 
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1770 Tchoupitoulas Inc.
4152 Canal Street
New Orleans, LA 70119

Assentium Capital
23970 US-59
Kingwood, TX 77339

Balzac
11 Fulton Street
Charleston, SC 29401

Cafe Imports
2617 East Hennipin Avenue
Minneapolis, MN 55413-2000

Cofinet
16192 Coastal Highway
Lewes, DE 19958

Crop to Cup
157 11th Street
Brooklyn, NY 11215

Crown
308 S Main Street
New Knoxville, OH 45871

Financial Pacific Leasing
3455 S 344th Way, Suite 300
Auburn, WA 98001

Forward Financing
52 State Street, 20th Floor
Boston, MA 02109

Heidi Gremillion
P.O. Box 56801
New Orleans, LA 70156

Keffa
7 South High Street
Baltimore, MD 21202
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Keffa
4152 Canal Street
New Orleans, LA 70119

Onyx
P.O. Box 31123
Bellingham, WA 98228

PayPal
2211 N lst Street
San Jose, CA 95131

SBA EIDL
P.O. Box 3918
Portland, OR 97208

Shopify
33 New Montgomery Street, Suite 750
San Francisco, CA 94105

Square
1455 Market Street, Suite 600
San Francisco, CA 94103

Stripe
354 Oyster Port Blvd. South
South San Francisco, CA 94080

Studio WTA
7041 Canal Blvd.
New Orleans, LA 70124

Sucafina
109 North 12 Street, Suite 602
Brooklyn, NY 11249
